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                   Exhibit D
                                                                                                 Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
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                                                                           2122-CC08817

                       IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                 STATE OF MISSOURI

ELLIOT WINTER,                                    )
                                                  )
and,                                              )
                                                  )
ALEXANDRIA HURLBURT,                              )
                                                  )
         Plaintiffs,                              )
                                                  )      Cause No.:
v.                                                )
                                                  )      Division:
FACEBOOK, INC.,                                   )
     Serve Registered Agent:                      )
     CSC-Lawyers Incorporating Service Co.        )
     221 Bolivar Street                           )
     Jefferson City, Missouri 65101               )
                                                  )
and,                                              )
                                                  )
TIKTOK INC., TIKTOK PTE. LTD.,                    )
BYTEDANCE LTD., and BYTEDANCE INC.,               )               )
     Serve Registered Agent:                      )      DEMAND FOR JURY TRIAL
     Corporation Service Company                  )
     251 Little Falls Drive                       )
     Wilmington, Delaware 19808                   )
                                                  )
and,                                              )
                                                  )
MONICA DOLAN,                                     )
     Serve Party at:                              )
     15914 44th W. Ave.                           )
     Apt. D102                                    )
     Lynnwood, WA 98087                           )
                                                  )
         Defendants.                              )

                               PETITION FOR DAMAGES

         COMES NOW, Plaintiffs, Elliot Winter (hereinafter “Mr. Winter”), and Alexandria

Hurlburt (hereinafter "Ms. Hurlburt") by and through counsel, Derek R. Haake, and for their

Petition for Damages against Defendants, Facebook, Inc. (hereinafter “Facebook”), TikTok Inc.,
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TikTok Pte. Ltd.,ByteDance, Ltd., and ByteDance, Inc., (hereinafter “TikTok”), and Monica

Dolan (hereinafter “Ms. Dolan”) and states to the Court as follows:

                         PARTIES, JURISDICTION, AND VENUE

           1) Plaintiffs, Mr. Winter and Ms. Hurlburt, at all times relevant herein, are residents

   of the City of St. Louis, State of Missouri.

           2) Defendant, Facebook, at all times relevant herein, is a foreign corporation

   licensed to do business in the State of Missouri, incorporated within the State of Delaware

   with its principal place of business located at 1601 Willow Road, Menlo Park, California

   94025 and does normal business in the State of Missouri with continual contacts within the

   jurisdiction of St. Louis City, Missouri.

           3) Defendant, TikTok, at all times relevant herein, is a foreign corporation not

   licensed to do business in the State of Missouri, incorporated within the State of Delaware

   with its principal place of business located at Room 501, 5th Floor, Xinaote Science and

   Technology Building, 131 West Fourth Ring North Road, Haidian District, Beijing, People’s

   Republic of China 100086, and does normal business in the State of Missouri with continual

   contacts within the jurisdiction of St. Louis City, Missouri.

           4) Defendant, Ms. Dolan, is a currently resident of the Snohomish County, State of

   Washington.

           5) Jurisdiction and venue are proper in this Court because the causes of action

   asserted herein accrued in St. Louis City, Missouri, where the Defendants have continual

   contacts or have committed tortious acts within the State of Missouri; pursuant to Missouri

   Revised Statutes § 508.010 and § 506.500.1(3), respectively.
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                   FACTUAL ALLEGATIONS TO ALL COUNTS

       6) On or about October 1 2020, Ms. Dolan and her group of other social media

influencers, personalities, or other similarly situated individuals (hereinafter “Influences”)

began defaming Plaintiffs on social media.

       7) Ms. Dolan directly or indirectly and her Influencers posted private, intimate

details of Plaintiffs on social media, including personal sexual habits, Plaintiff’s addresses,

phone numbers and other personal information about Plaintiffs at this time.

       8) Ms. Dolan or her Influencers did not have authorization to post Plaintiffs personal

and otherwise confidential information at this time on social media.

       9) Ms. Dolan and her Influencers further engaged in a pattern of behavior that

resulted in the harassment of the Plaintiffs on her social media accounts beginning in March

of 2021.

       10) Ms. Dolan further left her residence in Washington and as of the date of the filing

of this Petition is presently residing in the State of Missouri for the sole purpose to harass,

chastise and engage in other illegal conduct to damage Plaintiff in this lawsuit.

       11) Ms. Dolan directly, or through influence of others defaced the entire block of

1600 locust including the Plaintiffs apartment building, the St Louis Film Library, Sidewalk,

Parking Meters, Street Signs, Dumpsters and more with false and/or threatening messages

       12) Ms. Dolan and her Influencers directly conspired to create a false narrative in an

effort to defame, harass, emotionally torment, and affect the business/health of the plaintiffs

       13) Ms. Dolan and her Influencers on more than one occasion incited and/or

suggested violent action be taken against Plaintiffs
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        14) Ms. Dolan and her Influencers directly or indirectly harassed the plaintiffs, their

family members, supporters and friends in and order to further cause harm to plaintiffs and/or

silence those who countered her and group's false statements

        15) Ms. Dolan directly resulted in Mr. Winter's termination from his employer and

subsequently the loss of the plaintiffs health insurance

        16) Ms. Dolan and her Influencers directly affected two businesses owned by

Plaintiffs resulting in a massive and ongoing financial loss

        17) Ms. Dolan and her Influencers directly contacted multiple parties in an attempt to

further their harassment of Plaintiffs and cause Plaintiffs further and substantial injury.

        18) Ms. Dolan and her Influencers made multiple efforts to directly or indirectly

benefit financially from their campaign.

        19) Ms. Dolan and her Influencers made thousands of false, harassing, defamatory or

otherwise damaging posts against plaintiffs on multiple social media accounts.

        20) Ms. Dolan and her Influencers stalked plaintiffs across social media and in person

on multiple occasions including efforts to circumvent privacy measures put in place by

plaintiffs.

        21) Ms. Dolan and her Influencers illegally recorded and rebroadcast footage from

private or otherwise protected sources for the purposes of harassment of Plaintiffs and cause

Plaintiffs further and substantial injury.

        22) Ms. Dolan falsely represented herself as working for/with the FBI for the

purposes of attempting to add legitimacy to her harassment.
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        23) TikTok wrongfully removed plaintiffs social media accounts after false mass

reporting from Monica Dolan and group and subsequently refused to reinstate said account

despite being provided proof of the actions of Monica Dolan and Group

        24) TikTok refused to remove dangerous, harassing, defaming and other

content/accounts posted/held by Ms. Dolan and her Influencers despite multiple contact

attempts including being provided proof of all infractions and their directly corresponding

correlation to their Community Guidelines. This includes but is not limited to content

directly threatening and/or inciting violence against Plaintiffs.

        25) Facebook refused to remove dangerous, harassing, defaming and other

content/accounts posted/held by Monica Dolan and group despite multiple contact attempts

and proof of their violations of community guidelines including direct threats and or

incitement of violence against plaintiffs.

        26) Plaintiffs further had their social media accounts wrongfully banned because of

Dolan’s accusations, resulting in a loss of substantial income from these social media

accounts for Defendants.

                                     COUNT I
                               DEFAMATION - SLANDER
                                   (MS. DOLAN)

        27) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

allegations in the Factual Allegations to all Counts.

        28) Ms. Dolan made public statements to multiple individuals that Mr. Winter was a

rapist and a sex trafficker.

        29) Examples of Ms. Dolan and her Influencers’ statements include but are not

limited to:
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        (a) Plaintiffs are serial rapists with hundreds of victims;

        (b) Plaintiffs are serial rapists with thousands of victims;

        (c) Plaintiffs are murderers;

        (d) Plaintiffs are pedophiles and/or "Minor Attracted Persons";

        (e) Plaintiff is responsible for the death of Amber McCarter;

        (f) Plaintiff brought in/kidnapped runaways on multiple occasions;

        (g) Plaintiff is responsible for a claimed increase in missing children wherever he

            lived;

        (h) Plaintiff's book "Kaotik" is no longer sold because it is considered "child

            pornography";

        (i) Plaintiff drugged his ex-girlfriends;

        (j) Plaintiffs are sex traffickers;

        (k) Plaintiff chokes partners against their will and has killed people because of it

            and/or left them for dead;

        (l) Plaintiffs are physically abusive;

        (m) Plaintiffs have prevented parties from leaving their home;

        (n) Plaintiffs have committed insurance fraud;

        (o) Plaintiffs have committed housing fraud;

        (p) Plaintiffs force others to engage in polyamory/BDSM against their will;

        (q) Plaintiffs have together and separately raped ex-girlfriends;

        (r) Plaintiffs have committed identity fraud;

        (s) Plaintiff used his career at Heartland Payment systems to find "victims";

        (t) Plaintiffs groom minors and or others; and
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                (u) Plaintiffs were to use their soap company to lure minors.

           30) When making said statements, Ms. Dolan and her Influencers knew these

   allegations were false.

           31) Ms. Dolan and her Influencers made these false statements only after plaintiffs

   began to grow a large social media presence finding success more so than that of herself and

   the group.

           32) Due to Ms. Dolan’s and her Influencers’ public statements, Mr. Winter’s and Ms.

   Hurlburt's reputations have been damaged, plaintiffs have lost significant income, Mr. Winter

   lost his job and subsequently his health insurance from Heartland Payment Systems, Mr.

   Winter’s family, including his seven-year-old son, has received death threats, friends and

   associates of Plaintiffs have been directly and indirectly harassed on an ongoing basis by Ms.

   Dolan, her Influencers, and/or others acting directly or indirectly on their behalf.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt respectfully pray for

judgment against Defendants, Monica Dolan, group, Facebook and TikTok for an amount in

excess of $25,000.00; granting Plaintiffs mandatory injunctive relief requiring Ms. Dolan and the

other Defendants to take all actions necessary to remove the harmful posts from the Internet and

de-index any and all harmful posts from Internet search engines, granting Plaintiffs prohibitory

injunctive relief prohibiting Ms. Dolan and her Influencers from re-publishing any and all

harmful posts or otherwise publicly disseminating Plaintiffs private information; post-judgment

interest; costs for suit incurred herein, including but not limited to, attorney’s fees, court costs,

process serving fees; and for such other and further relief as this Court may deem just and proper

under the circumstances.

                                        COUNT II
                                    DEFAMATION – LIBEL
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                                       (MS. DOLAN)

       33) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

allegations in the Factual Allegations to all Counts and all prior Counts.

       34) Ms. Dolan and her Influencers made public written statements to multiple

individuals claiming that Mr. Winter was a rapist and sex trafficker.

       35) Examples of Ms. Dolan and her Influencers's public written statements include

but are not limited to:

           (a) Plaintiffs are serial rapists with hundreds of victims;

           (b) Plaintiffs are serial rapists with thousands of victims;

           (c) Plaintiffs are murderers;

           (d) Plaintiffs are comparable to Somali Pirates and/or Dictators in their number of

               victims and the atrocity of their actions;

           (e) Plaintiffs are pedophiles and/or "Minor Attracted Persons";

           (f) Plaintiff is responsible for the death of Amber McCarter;

           (g) Plaintiff brought in/kidnapped runaways on multiple occasions;

           (h) Plaintiff is responsible for a claimed increase in missing children wherever he

               lived;

           (i) Plaintiff's book "Kaotik" is no longer sold because it is considered "child

               pornography";

           (j) Plaintiff drugged his ex-girlfriends;

           (k) Plaintiffs are sex traffickers;

           (l) Plaintiff chokes partners against their will and has killed people because of it

               and/or left them for dead;
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              (m) Plaintiffs are physically abusive;

              (n) Plaintiffs have prevented parties from leaving their home;

              (o) Plaintiffs have committed insurance fraud;

              (p) Plaintiffs have committed housing fraud;

              (q) Plaintiffs force others to engage in polyamory/BDSM against their will;

              (r) Plaintiffs have together and separately raped ex-girlfriends;

              (s) Plaintiffs have committed identity fraud;

              (t) Plaintiff used his career at Heartland Payment systems to find "victims";

              (u) Plaintiffs groom minors and or others;

              (v) Plaintiffs were to use their soap company to lure minors;

          36) When making these public written statements, Ms. Dolan and her Influencers

   knew these allegations were false.

          37) Ms. Dolan and her Influencers made these false statements without having any

   factual basis, and ultimately these statements are completely without merit.

          38) Due to Ms. Dolan and her Influencers's public written statements, Mr. Winter’s

   reputation has been damaged, Mr. Winter has lost significant income, Mr. Winter lost his job

   with Heartland Payment Systems, and Mr. Winter’s family, including his seven-year-old son,

   has received death threats.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully pray for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting Mr.

Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting Mr. Winter prohibitory injunctive relief prohibiting Ms.
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Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating Mr. Winter’s private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                            COUNT III
  TORTIOUS INTERFERENCE WITH BUSINESS CONTRACT AND EXPECTANCY
                           (MS. DOLAN)

           39) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           40) Mr. Winter had a valid contract and business expectancy with Geek Grooming to

   create, market and sell men's soap products. This included a future appearance on Shark

   Tank

           41) Mr. Winter had a valid contract and business expectancy with Heartland Payment

   Systems to sell financial services to small businesses.

           42) Plaintiffs had a valid contract and business expectancy to act as social media

   influencers, content creators, advocates et al in reference to alternative relationships,

   LGTBQ, and BDSM related topics under Beast and the Belles LLC

           43) Ms. Dolan and her Influencers had direct knowledge of plaintiffs’ contract and

   business expectancy.

           44) On or about October 1, 2020 Ms. Dolan and her Influencers began directly

   interfering with plaintiffs contract and business expectance in regards to Beast and the Belles

   LLC inducing a dramatic decline in income contrary to previous financial trends

           45) On or about April 1, 2021 Ms. Dolan contacted Heartland Payment systems and

   intentionally interfered with the contract expectancy between Mr. Winter and Heartland
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Payment systems and induced Heartland Payment systems to terminate its contract with Mr.

Winter prior to the expiration of the contract.

        46) On or about May 1, 2021, Ms. Dolan and her Influencers contacted Geek

Grooming and intentionally interfered with the contract and business expectance between

Mr. Winter and Geek Grooming and induced Geek Grooming to terminate its contract with

Mr. Winter prior to the expiration of the contract.

        47) Based on Ms. Dolan and her Influencers’ defamatory and slanderous statements

about Mr. Winter to Geek Grooming, to Heartland Payment Systems, as previously described

in the Factual Allegations to all Counts and Counts I and Counts II respectively, Geek

Grooming and Heartland Payment systems terminated their contract with Mr. Winter prior to

the expiration of contract and Beast and the Belles LLC suffered continually increasing

financial losses.

        48) Ms. Dolan and her Influencers had no legal justification to contact Geek

Grooming and entice Geek Grooming or Heartland Payment Systems to terminate the

contract between itself and Mr. Winter.

        49) Ms. Dolan and her Influencers had no legal justification to negatively affect the

business, reputation or income of Beast and the Belles LLC.

        50) As a direct and proximate cause of Ms. Dolan’s interference with the contract

between Geek Grooming and Heartland Payment Systems and Mr. Winter, in addition to the

interference with Beast and the Belles LLC, Plaintiffs have suffered damages in excess of

$25,000.00.

        51) The actions of Ms. Dolan and her Influencers were willful, wanton, and

malicious.
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       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully pray for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting Mr.

Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting Mr. Winter prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating Mr. Winter’s private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                                   COUNT IV
              INVASION OF PRIVACY: PUBLICATION OF PRIVATE FACTS
                                 (MS. DOLAN)

           52) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           53) Through social media, absent any valid waiver or legitimate privilege, Ms. Dolan

   and her Influencers gave unwanted and unreasonable publicity to Mr. Winter and Alexandria

   Hurlburt's private matters and concerns.

           54) Mr. Winter and Ms. Hurlburt are sufficiently identifiable as being the subject of

   Ms. Dolan’s social media posts, which include several photographs of Mr. Winter and

   Alexandria Hurlburt and repeated reference to Mr. Winter and Alexandria Hurlburt's name,

   address, phone number and other identifying information.

           55) The unreasonable publicity created by Ms. Dolan and her Influencers targets and

   focuses, in meaningful part, on private matters over which the public has no legitimate

   concern.
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        56) Ms. Dolan and her Influencers' social media posts include discussions of private

events which do not touch the sphere of public interest, including but not limited to:

            (a) Plaintiffs’ home address;

            (b) Plaintiffs’ phone numbers;

            (c) Plaintiffs’ email addresses;

            (d) Plaintiffs’ family members names, addresses and phone numbers;

            (e) Plaintiffs’ seven (7) year old son’s name and address;

            (f) Disclosure publically of consensual sexual acts engaged in by Plaintiffs and

                others;

            (g) Personal fetishes of Plaintiffs;

            (h) Private romantic conversations of Plaintiffs; and

            (i) Private photos and videos created by Plaintiffs for their personal use.

        57) The private matters which Ms. Dolan publicized included the type that would

bring shame or humiliation to a person of ordinary sensibilities in Mr. Winter’s position.

        58) The private facts which Ms. Dolan and her Influencers publicized included

plaintiffs address, phone number, and/or other identifying information which would induce

fear and emotional distress to a person of ordinary sensibilities in plaintiffs position.

        59) Ms. Dolan and her Influencers disseminated these private facts through the

Internet, reaching a large audience throughout the State of Missouri and worldwide.

        60) Ms. Dolan and her Influencers' actions complained of herein are extreme and

outrageous, going beyond all bounds of decency by unreasonably intruding into and exposing

to the public intimate details of Plaintiff’s life.
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           61) Ms. Dolan and her Influencers' actions complained of herein constitute a serious,

   unreasonable, unwarranted, and offensive interference with Mr. Winter’s right to privacy.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting Mr. Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take

all actions necessary to remove the harmful posts from the Internet and de-index any and all

harmful posts from Internet search engines, granting plaintiffs prohibitory injunctive relief

prohibiting Ms. Dolan and her Influencers from re-publishing any and all harmful posts or

otherwise publicly disseminating plaintiffs private information; post-judgment interest; costs for

suit incurred herein, including but not limited to, attorney’s fees, court costs, process serving

fees; and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                      COUNT V
                          INVASION OF PRIVACY: FALSE LIGHT
                                    (MS. DOLAN)

           62) Mr. Winter realleges and incorporates by reference, as if more fully stated herein,

   the allegations in the Factual Allegations to all Counts and all prior Counts.

           63) Ms. Dolan and her Influencers' social media posts unreasonably place plaintiffs in

   a false light before the public.

           64) Ms. Dolan and her Influencers' social media posts and other defamatory actions

   constitute a major misrepresentation of Plaintiffs character, history, activities, and beliefs.

           65) The false light in which plaintiff has been placed would be highly offensive to a

   reasonable person.
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           66) At all times relevant, Ms. Dolan was and is aware that plaintiffs would reasonably

   be justified in the eyes of the community in feeling seriously offended and aggrieved by the

   publicity created by her social media posts and other defamatory actions.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting

plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating plaintiffs private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances


                                 COUNT VI
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (MS. DOLAN)

           67) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts

           68) Ms. Dolan and her Influencers intentionally and knowingly made false statements

   to the public, as previously described in Count I, Count II, Count III, Count IV, and Count V,

   respectively.

           69) The actions and conduct of Defendants and group were extreme and outrageous.

           70) The actions and conduct of Defendants were the cause of plaintiffs harm and

   damages, including but not limited to:
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          (a) Dolan contacting the Clinton County Showcase to spread her false

              information and false accusations that prevented Mr. Winters from performing

              Rock of Ages.

          (b) Dolan contacting Looking Glass Playhouse to spread her false information

              and false accusations that prevented Mr. Winters from performing Rock of

              Ages.

          (c) constant and persistent fear of violent action directly/or indirectly by Ms.

              Dolan, group, or someone who believed their false statements;

          (d) re-emergence of Ms. Hurlburt's PTSD and other emotional distress being a

              former victim of stalking/harassment/violent threats;

          (e) dramatic    increase    in   Ms.     Hurlburt's   epilepsy   (complicated    by

              stress/exhaustion) causing further short term and potential long term harm

              and/or serious permanent harm up to and including potential fatal

              repercussions;

          (f) resurgence of previous emotional trauma caused by the loss of a beloved

              friend of Mr. Winter to a drug overdose after Ms. Dolan falsely insinuated Mr.

              Winter was responsible on the anniversary of her death causing Mr. Winter to

              suffer an anxiety attack/emotional episode; and

          (g) Plaintiffs needing counseling for potential long term side effects caused by the

              persistent fear of violence, being stalked.

       71) As a direct and proximate cause of Ms. Dolan and her Influencers’ actions and

conduct, plaintiffs were damaged.
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       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting

Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post-judgment interest; costs for suit

incurred herein, including but not limited to, attorney’s fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                      COUNT VII
                             NEGLIGENCE PER SE: STALKING
                                     (MS. DOLAN)

           72) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           73) The Missouri stalking, harassment, and unlawful posting of certain information

   over the internet laws are designed to protect citizens within the State of Missouri from

   individuals who stalk and harass.

           74) Ms. Dolan and her Influencers violated Section 565.225 of the Missouri Revised

   Statutes, which restricts a person from disturbing or following with the intent of disturbing

   another person and making a threat communicated with the intent to cause the person who is

   the target of the threat reasonably fear for his safety or the safety of his family.

           75) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.
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           76) Plaintiffs injuries were of a kind the statutes and ordinances were designed to

   prevent.

           77) As a direct and proximate cause of the Defendant’s violations of Missouri law,

   plaintiffs sustained injuries, loss of income, medical bills, pain and suffering, and other

   damages.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting

Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post-judgment interest; costs for suit

incurred herein, including but not limited to, attorney’s fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                    COUNT VIII
                          NEGLIGENCE PER SE: HARASSMENT
                                   (MS. DOLAN)

           78) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           79) The Missouri harassment laws are designed to protect citizens within the State of

   Missouri from individuals who stalk and harass.
                                                                                                     Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
   Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 20 of 36 PageID #: 79




           80) Ms. Dolan and her Influencers violated Section 565.090 of the Missouri Revised

   Statutes, which restricts a person from engaging in any act with the purpose to cause

   emotional distress to another person.

           81) Plaintiffs have suffered emotional distress as a result of Ms. Dolan’s harassment

   and stalking.

           82) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.

           83) Plaintiff's injuries were of a kind the statutes and ordinances were designed to

   prevent.

           84) As a direct and proximate cause of the Defendant’s violations of Missouri law,

   plaintiffs sustained injuries, loss of income, medical bills, pain and suffering, and other

   damages.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000; granting

plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating plaintiffs private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                            COUNT IX
   NEGLIGENCE PER SE: UNLAWFUL POSTING OF CERTAIN INFORMATION
                        OVER THE INTERNET
                           (MS. DOLAN)
                                                                                                          Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
   Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 21 of 36 PageID #: 80




             85) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

             86) The Missouri unlawful posting of certain information over the internet laws are

   designed to protect citizens within the State of Missouri from individuals who stalk and

   harass.

             87) Ms. Dolan and her Influencers violated Section 565.240 of the Missouri Revised

   Statutes, which restricts a person from posting certain information over the internet,

   including name, home address, Social Security number, or telephone number while intending

   to cause great bodily harm or death, or threatening to cause great bodily harm or death to

   such person.

             88) Ms. Dolan and her Influencers intend and has threatened to cause great bodily

   harm to both Mr. Winter and his family.

             89) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.

             90) Plaintiffs injuries were of a kind the statutes and ordinances were designed to

   prevent.

             91) As a direct and proximate cause of the Defendant’s violations of Missouri law,

   Mr. Winter sustained injuries, loss of income, pain and suffering, and other damages.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting
                                                                                                       Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
   Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 22 of 36 PageID #: 81




Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post-judgment interest; costs for suit

incurred herein, including but not limited to, attorney’s fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                       COUNT X
                                   GROSS NEGLIGENCE
                                (FACEBOOK AND TIKTOK)

           92) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           93) Facebook and TikTok owed Mr. Winter a duty to take down any false abusive

   posts and/or any post containing personal identifying information of Mr. Winter for the

   purpose of stalking and harassment, including, but not limited to, plaintiffs address and

   phone number.

           94) Facebook and TikTok breached said duty when both companies refused to take

   down any false abusive posts and/or any posts containing personal identifying information of

   Mr. Winter for the purpose of stalking and harassment, including, but not limited to,

   plaintiffs address and phone number.

           95) But for Facebook and TikTok’s failure to take down the false abusive posts and/or

   posts containing plaintiffs personal identifying information for the purposes of stalking and

   harassment, Plaintiffs have suffered a significant loss of reputation, significant loss of

   income, has received death threats against him and his family, including Mr. Winter’s seven-

   year-old son, and has suffered severe emotional distress.
                                                                                                      Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
   Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 23 of 36 PageID #: 82




           96) Plaintiffs injuries were a foreseeable consequence of Facebook and TikTok’s

   refusal to take down the false abusive posts and/or posts containing plaintiffs personal

   identifying information for the purposes of stalking and harassment.

           97) As a direct and proximate cause of Facebook and TikTok’s failure to take down

   the false abusive posts and/or posts containing plaintiffs personal identifying information for

   the purposes of stalking and harassment, plaintiffs sustained damages in an amount in excess

   of 500,000.00.

           98) Facebook and TikTok’s actions were willful, wanton, malicious, and without

   regard for the rights of plaintiffs.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Facebook, Inc. and TikTok, for an amount in excess of 25,000.00;

granting plaintiffs mandatory injunctive relief requiring Facebook and TikTok to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines; post-judgment interest; costs for suit incurred herein, including but

not limited to, attorney’s fees, court costs, process serving fees; and for such other and further

relief as this Court may deem just and proper under the circumstances.



                                                     Respectfully submitted,


                                                     HOWARD HAAKE, LLC




                                             By:     ____________________________________

                                                     Derek R. Haake, #64301
                                                                              Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 24 of 36 PageID #: 83




                                        511 W. Pearce Blvd.
                                        Wentzville, MO 63385
                                        Office: (636) 332-5555
                                        derek@howardhaake.com
                                        Attorney for Plaintiff
Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 25 of 36 PageID #: 84
                                                                                          Electronically Filed - City of St. Louis - July 12, 2021 - 12:46 PM
     Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 26 of 36 PageID #: 85




                       IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                    STATE OF MISSOURI

ELLIOT WINTER et al,                               )
                                                   )
         Plaintiffs,                               )
                                                   )      Cause No.:    2122-CC08817
v.                                                 )
                                                   )
FACEBOOK, INC. et al,                              )
                                                   )
         Defendants,                               )
                                                   )




            REQUEST FOR APPOINTMENT OF SPECIAL PROCESS SERVER

         COMES NOW Plaintiffs, Elliot Winter and Alexandria Hurlburt, and requests the

appointment of Rick Burrows, P.O. Box 440133 St. Louis, MO 63144, to serve summons to

Defendant Monica Dolan at her address at 15914 44th W. Ave., Apt. D102, Lynnwood, WA

98087.




                                                   Respectfully submitted,


                                                   HOWARD HAAKE, LLC




                                            By:    ____________________________________
                                                   Derek R. Haake, #64301
                                                   200 South Hanley Road, Suite 1103
                                                   Clayton, Missouri 63105
                                                   (314) 325-9868
                                                   derek@howardhaake.com
                                                   Attorney for Plaintiffs
                                                                                               Electronically Filed - City of St. Louis - July 13, 2021 - 02:44 PM
     Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 27 of 36 PageID #: 86




                      IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                   STATE OF MISSOURI

ELLIOT WINTER et al,                              )
                                                  )
        Plaintiffs,                               )
                                                  )      Cause No.:    2122-CC08817
v.                                                )
                                                  )
FACEBOOK, INC. et al,                             )
                                                  )
        Defendants,                               )
                                                  )




                                         MEMORANDUM

        COMES NOW Plaintiffs, Elliot Winter and Alexandria Hurlburt, and submits the balance

of $40.00 in filing fees as requested.




                                                  Respectfully submitted,


                                                  HOWARD HAAKE, LLC




                                            By:   ____________________________________
                                                  Derek R. Haake, #64301
                                                  200 South Hanley Road, Suite 1103
                                                  Clayton, Missouri 63105
                                                  (314) 325-9868
                                                  derek@howardhaake.com
                                                  Attorney for Plaintiffs
              Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 28 of 36 PageID #: 87
             IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                              Case Number: 2122-CC08817
MICHAEL FRANCIS STELZER
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ELLIOT J WINTER                                                 DEREK ROBERT HAAKE
                                                                511 W PEARCE BLVD
                                                          vs.   WENTZVILLE, MO 63385
Defendant/Respondent:                                           Court Address:
FACEBOOK INC                                                    CIVIL COURTS BUILDING
Nature of Suit:                                                 10 N TUCKER BLVD
CC Pers Injury-Other                                            SAINT LOUIS, MO 63101                                        (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: FACEBOOK INC
                            Alias:
 CSC LAWYERS INC SERVICE CO                                                                        COLE COUNTY, MO
 221 BOLIVAR STREET
 JEFFERSON CITY, MO 65101
      COURT SEAL OF         You         are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                  July 13, 2021
                                     ________________________                      ______________________________________________________
                                             Date                                                        Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-9525             1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
               Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 29 of 36 PageID #: 88

              IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                          Case Number: 2122-CC08817
 MICHAEL FRANCIS STELZER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 ELLIOT J WINTER                                             DEREK ROBERT HAAKE
                                                             511 W PEARCE BLVD
                                                       vs.   WENTZVILLE, MO 63385
 Defendant/Respondent:                                       Court Address:                                          (Date File Stamp)
 FACEBOOK INC                                                CIVIL COURTS BUILDING
 Nature of Suit:                                             10 N TUCKER BLVD
 CC Pers Injury-Other                                        SAINT LOUIS, MO 63101
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to: MONICA DOLAN
                            Alias:
  15914 44TH W. AVE.
  APT D102
  LYNNWOOD, WA 98087


     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                                          July 13, 2021
     CITY OF ST LOUIS          ___________________________________                _______________________________________________
                                                    Date                                               Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                          ______________________________________________________
                   Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                             Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                               I am: (check one)   the clerk of the court of which affiant is an officer.
                                                   the judge of the court of which affiant is an officer.
                                                   authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                    summons. (use for out-of-state officer)
                                                    authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                             See the following page for directions to officer making return on service of summons.

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-2148           1 of 2 (2122-CC08817)           Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                         506.500, 506.510 RSMo
               Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 30 of 36 PageID #: 89
                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-2148    2 of 2 (2122-CC08817)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                               506.500, 506.510 RSMo
               Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 31 of 36 PageID #: 90

              IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                          Case Number: 2122-CC08817
 MICHAEL FRANCIS STELZER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 ELLIOT J WINTER                                             DEREK ROBERT HAAKE
                                                             511 W PEARCE BLVD
                                                       vs.   WENTZVILLE, MO 63385
 Defendant/Respondent:                                       Court Address:                                           (Date File Stamp)
 FACEBOOK INC                                                CIVIL COURTS BUILDING
 Nature of Suit:                                             10 N TUCKER BLVD
 CC Pers Injury-Other                                        SAINT LOUIS, MO 63101
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:     TIKTOK INC
                                Alias: TIKTOK PTE LTD , BYTEDDANCE LTD AND BYTEDANCE INC
  CORPORATION SERVICE COMPANY
  251 LITTLE FALLS DRIVE
  WILMINGTON, DE 65101
     COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for the
                                plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                taken against you for the relief demanded in this action.
                                          July 13, 2021
     CITY OF ST LOUIS          ___________________________________                 _______________________________________________
                                                    Date                                                Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                           ______________________________________________________
                   Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                              See the following page for directions to officer making return on service of summons.


OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-2149            1 of 2 (2122-CC08817)           Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                          506.500, 506.510 RSMo
               Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 32 of 36 PageID #: 91
                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-2149    2 of 2 (2122-CC08817)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                               506.500, 506.510 RSMo
Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 33 of 36 PageID #: 92
                                                                                                                                                     Electronically Filed - City of St. Louis - August 05, 2021 - 01:29 PM
               Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 34 of 36 PageID #: 93

              IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                           Case Number: 2122-CC08817
 MICHAEL FRANCIS STELZER
 Plaintiff/Petitioner:                                        Plaintiff’s/Petitioner’s Attorney/Address:
 ELLIOT J WINTER                                              DEREK ROBERT HAAKE
                                                              511 W PEARCE BLVD
                                                       vs.    WENTZVILLE, MO 63385
 Defendant/Respondent:                                        Court Address:                                         (Date File Stamp)
 FACEBOOK INC                                                 CIVIL COURTS BUILDING
 Nature of Suit:                                              10 N TUCKER BLVD
 CC Pers Injury-Other                                         SAINT LOUIS, MO 63101
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to: MONICA DOLAN
                            Alias:                           RETURN - Non Est
  15914 44TH W. AVE.                                         Service
  APT D102
  LYNNWOOD, WA 98087


     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                                          July 13, 2021
     CITY OF ST LOUIS          ___________________________________                 _______________________________________________
                                                    Date                                                Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                           ______________________________________________________
                   Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                             Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                               I am: (check one)   the clerk of the court of which affiant is an officer.
                                                   the judge of the court of which affiant is an officer.
                                                   authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                    summons. (use for out-of-state officer)
                                                    authorized to administer oaths. (use for court-appointed server)
                                                                             __________________________________________________________
                                                                                                 Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                             See the following page for directions to officer making return on service of summons.

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-2148            1 of 2 (2122-CC08817)          Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                         506.500, 506.510 RSMo
                                                                                                                                           Electronically Filed - City of St. Louis - August 05, 2021 - 01:29 PM
               Case: 4:21-cv-01046 Doc. #: 1-4 Filed: 08/20/21 Page: 35 of 36 PageID #: 94
                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-2148    2 of 2 (2122-CC08817)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                               506.500, 506.510 RSMo
                                                                                       Electronically Filed - City of St. Louis - August 05, 2021 - 01:29 PM
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                      IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                   STATE OF MISSOURI

ELLIOT WINTER et al,                          )
                                              )
        Plaintiffs,                           )
                                              )      Cause No.:        2122-CC08817
v.                                            )
                                              )
FACEBOOK, INC. et al,                         )
                                              )
        Defendants,                           )
                                              )



                          MEMORANDUM FOR ALIAS SUMMONS

      COMES NOW, Plaintiff, Elliot Winter, and requests a Summons be issued for the
Defendant Monica Dolan to serve at: 15914 44th W. Ave. Apt. D102 Lynnwood, WA 98087.




                                              Respectfully submitted,

                                              HOWARD HAAKE, LLC



                                         By: _________________________________
                                             Derek R. Haake, #64301
                                             511 W. Pearce Blvd.
                                             Wentzville, Missouri 63385
                                             (314) 325-9868
                                             derek@howardhaake.com

                                              Attorney for Plaintiff
